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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 LEAGUE OF UNITED LATIN AMERICAN
 CITIZENS, et al.,

             Plaintiffs,
        v.                                           Civil Action No. 25-0946 (CKK)
 EXECUTIVE OFFICE OF THE
 PRESIDENT, et al.,

             Defendants.


 DEMOCRATIC NATIONAL COMMITTEE,
 et al.,

             Plaintiffs,
        v.                                           Civil Action No. 25-0952 (CKK)
 DONALD J. TRUMP, in his official capacity
 as President of the United States, et al.,

             Defendants.


 LEAGUE OF WOMEN VOTERS
 EDUCATION FUND, et al.,

             Plaintiffs,
        v.                                           Civil Action No. 25-0955 (CKK)
 DONALD J. TRUMP, in his official capacity
 as President of the United States, et al.,

             Defendants.

                                           ORDER
                                        (April 15, 2025)

       Counsel for all parties in these consolidated cases shall appear for a joint hearing on the

Plaintiffs’ pending [34] & [53] Motions for Preliminary Injunctions at 1:30 p.m. ET on April 17,

2025, in Courtroom 28-A.

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       At this hearing, counsel shall be prepared to address all legal and factual issues presented

in the pending motions, including each of the following topics:

       (1)     Whether the Election Assistance Commission (“EAC”) Defendants—the EAC, its
               Commissioners, and its Executive Director—will stipulate that they “do not intend
               to make any change to the Federal Form relating to documentary proof of
               citizenship within 30 days, and that they will comply with notice-and-comment and
               other procedural requirements” under the Administrative Procedure Act, the Help
               America Vote Act, the National Voter Registration Act, and the Paperwork
               Reduction Act before making any such changes in the future. See Nonpartisan Pls.’
               Mot., ECF No. 34-1, at 19; Defs.’ Opp’n, ECF No. 85, at 20–22.

       (2)     Whether the EAC could act within 30 days to “require” documentary proof of
               citizenship from users of the Federal Form while complying with all applicable
               statutes and regulations, including those governing applicable notice-and-comment
               periods for new or revised regulations or information collections. See Decl. of
               Brianna Schletz, ECF No. 84-1, ¶¶ 2–7; Nonpartisan Pls.’ Mot., ECF No. 34-1, at
               3–4.

       (3)     How the Executive Order’s instructions that agencies and officers take “appropriate
               action” and act “consistent with applicable law” affect the Plaintiffs’ claims for
               preliminary relief. See Defs.’ Opp’n, ECF No. 84, at 24–25, 31, 40, 42; Defs.’
               Opp’n, ECF No. 85, at 17–18, 20, 22, 28.

       (4)     Whether a requirement that federal agencies “assess citizenship” before providing
               the Federal Form to “enrollees of public assistance programs” would affect the
               competitive environment for candidates for federal elective office. See Dem. Pls.’
               Mot., ECF No. 53-1, at 9–10.

       (5)     Whether each of the Plaintiff organizations has identifiable, individual members
               that have standing to raise each of the claims presented in the pending motions. See
               Defs.’ Opp’n, ECF No. 84, at 19–20; Defs.’ Opp’n, ECF No. 85, at 13–14.

       (6)     Whether the Court can or should limit any preliminary relief in this case to cover
               only the State of Arizona. See Defs.’ Opp’n, ECF No. 84, at 43–44.



       SO ORDERED.

       Dated: April 15, 2025


                                                     COLLEEN KOLLAR-KOTELLY
                                                     United States District Judge


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